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     Attorneys for Defendant
 5   THOMAS SHEPOS
 6                            UNITED STATES DISTRICT COURT
 7                            CENTRAL DISTRICT OF CALIFORNIA
 8                                        WESTERN DIVISION
 9
                                                      )       NO. CR 18-569-GW-1
10   UNITED STATES OF AMERICA,                        )
                                                      )       ORDER TO MODIFY BOND TO ALLOW
11                   Plaintiff,                       )       TRAVEL TO MEXICO ON MAY 20, 2021
                                                      )       AND RETURNING ON MAY 27, 2021.
12         vs.                                        )
                                                      )
13   THOMAS SHEPOS,                                   )
                                                      )
14                   Defendant.                       )
15

16          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED as follows:
17          1) The ex parte application is granted,
18          2) The court authorized Mr. Shepos to travel out of the Central District of California to
19               Mexico on May 20, 2021 and must return on May 27, 2021.
20          3) Mr. Shepos is ordered to meet with the supervising FBI agents immediately before
21
                 and after the trip and surrender his passport to them within twenty-four hours of his
22
                 return.
23
            4) All other conditions of release are to remain in effect.
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     DATED: March 30, 2021                      By
26                                                    HON. GEORGE H. WU
                                                      United States District Judge
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